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U.S. DISTRICT COURT FOR THE DIS'I`RICT OF COLUMBIA

SETH SHICH

1820 Clydesdale Place, N.W.
Apartment 200

Washington, D.C. 20009,

Plaintiff,

V' Case No.

MEDICRE])IT, INC.

c/o The Corporation Trust Ineorporated
351 Camden Street

Baltimore, MD 21201

Defendant.

NOTICE OF REMOVAL

Pursuant to 28 U.S.C. §§ 1331, 1441 and 1446, Defendant Medicredit, Inc. (1'eferred to
herein as “Defendant”), through undersigned counsel, hereby tiles this Notice of Removal of the
state-court action currently pending in the Superior Court of the District of Columbia, Srnall
Claims and Conciliation Branch, Case No. 2015-3€(3)-003512. In support thereof, Defendant
states as follows

l. Plaintiff initiated his civil action by filing a Staternent of Clairn against Defendant
in the Superior Court of the District cf Columbia, Small Clairns and Conciliation Branch.
Copies of Plaintiff’s Statement of Clairn, Surnmons and other related court documents are
appended hereto as Exhibit A.

2. Defendant Was served With a copy of the Statement of Claim and Summons on or
about August 25, 2015. This Notice of Removal is being filed with this Court Within 30 days of

the Service of the Staternent of Claim on Defendant and is timely tiled. See 28 U.S.C. § l446(b).

 

 

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See also Murphy Brorhers, Inc. v. Mz'chetti Pipe Stringing, Inc., 526 U.S. 344, 347 (1999)
(holding that the 30-day removal deadline does not begin to run until a defendant has been
properly served With a copy of the complaint).

3. Through this lawsuit, Plaintiff seeks to recover damages pursuant to the
Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq. (referred to herein as the “TCPA”).
See Statement of Claim (attached hereto as Exhibit A).

4. The Court. has original jurisdiction over this action under 28 U.S.C. § 1331 and
this case may be removed pursuant to 28 U.S.C. §l44i(a) because it involves federal questions
based upon the TCPA.

5. A Notice of Filing for Removai to Federal Court is being filed contemporaneously
in the Superior Court of the District of Columbia, a copy of Wln'ch is attached hereto as Exhibit
B.

6. Written notice of this pleading has been mailed to Plaintiff.

7. Exhibit A attached hereto represents all of the pleadings received by or served
upon Defendant in connection with Plaintiff’S claim.

8. Removal to this Court is appropriate because Plaintiff’s action is pending in this
District. See 28 U.S.C. § l44l(a).

WHEREFORE, Defendant respectfully requests that the above~referenced action brought

in the Superior Court of the District of Columbia be immediately removed to this Court.

 

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lRespect“r`ully submitted,

/s/ Joleen R. Okun
Joleen R. Okun
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Washington, DC 20006
Phone: 202.887.0855
Fax: 202.887.0866
Ernail: loleen.Okun@odnss.com

Counsel]?)r Dejzndant

CERTIFICATE OF SERVICE

l hereby certify that on this 10th day of Septeinber, 2015, a copy of the foregoing Notice
of Removal was sent via first class mail, postage prepaid, to:

Seth Shich

1820 Clydesdale Place NW
Apt. 200

Washington, DC 20009
Plaintijj”pro se

 

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/s/ .loleen R. Okun
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Counselfor Defendant

 

